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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

MICHAEL LOMAX,                                   :
                                                 :
       Plaintiff,                                :      Civil Action No.:      20-55 (RC)(ZMF)
                                                 :
       v.                                        :
                                                 :
COMMISSIONER OF SOCIAL SECURITY,                 :
                                                 :
       Defendant.                                :

                                  MEMORANDUM ORDER

       The Court referred this case to a U.S. Magistrate Judge for full case management on

April 30, 2020. ECF No. 17. This case was first assigned to Magistrate Judge Deborah A.

Robinson, and later assigned to Magistrate Judge Zia M. Faruqui.

       Plaintiff filed a Motion for Judgment of Reversal on June 29, 2020, and Defendant filed a

Motion for Judgment of Affirmance on August 14, 2020. ECF Nos. 18–19. Magistrate Judge

Faruqui issued a Report and Recommendation on August 4, 2021, that recommends granting

Plaintiff’s Motion for Judgment of Reversal, denying Defendant’s Motion for Judgment of

Affirmance, and remanding this matter for further proceedings. ECF No. 25. The Report and

Recommendation recommends “reversal of the Commissioner of Social Security’s decision

adopting the findings of an Administrative Law Judge . . . and denying [Plaintiff’s] application

for Supplemental Security Income and Social Security Disability Insurance” “only on the ground

that the SSA failed to adequately consider Mr. Lomax’s medication side effects.” Id. at 1, 23.

No objections have been received, and all objections are thus deemed waived. Elec. Transaction

Sys. Corp. v. Prodigy Partners Ltd., 2009 WL 3273920, at *1 (D.D.C. Oct. 9, 2009).
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        Accordingly, it is this 23rd day of August, 2021, hereby:

        ORDERED that Magistrate Judge Faruqui’s Report and Recommendation is adopted in

full; and it is

        FURTHER ORDERED that Plaintiff’s Motion for Judgment of Reversal is granted; and

it is

        FURTHER ORDERED that this matter is remanded for further proceedings consistent

with the Report and Recommendation; and it is

        FURTHER ORDERED that Defendant’s Motion for Judgment of Affirmance is denied.



        SO ORDERED.


                                                                    RUDOLPH CONTRERAS
                                                                    United States District Judge




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